Case 2:23-cv-03695-KNS Document 1-4 Filed 09/22/23 Page 1 of 35




      EXHIBIT
         2
                          Case 2:23-cv-03695-KNS Document 1-4 Filed 09/22/23 Page 2 of 35
       Court of Common Pleas of Philadelphia County                                                   For Prothonotary Use Only (Docket Number)
                     Trial Division
                                                                                MAY 2 0 2 3
                    Civil Cover Sheet                                          E-Filing Number:   2305041597                                          018 9 0
PLAINTIFF'S NAME                                                               DEFENDANTS NAME
    ISABELLA    ALBA                                                             15TH STREET LIGHTHOUSE LP


PLAINTIFF'S ADDRESS                                                            DEFENDANTS ADDRESS
 1330 NORTH 15TH STREET UNIT D                                                   1955 NORTH 18TH STREET
 PHILADELPHIA PA 19121                                                           PHILADELPHIA PA 19121


PLAINTIFF'S NAME                                                               DEFENDANTS NAME
    MORGAN BLACK                                                                 CTW INTERNATIONAL HOLDING, LLC


PLAINTIFF'S ADDRESS                                                            DEFENDANTS ADDRESS
 1330 NORTH 15TH STREET, UNIT D                                                  1955 NORTH 18TH STREET
 PHILADELPHIA PA 19121                                                           PHILADELPHIA PA 19121


PLAINTIFF'S NAME                                                               DEFENDANTS NAME
    NINA CARSELLO                                                                JBMP REAL ESTATE GROUP LLC, ALIAS: JBMP GROUP


PLAINTIFF'S ADDRESS                                                            DEFENDANTS ADDRESS
 1330 NORTH 15TH STREET, UNIT D                                                  1133 EAST COLUMBIA AVENUE SUITE 101
 PHILADELPHIA PA 19121                                                           PHILADELPHIA PA 19125


TOTAL NUMBER OF PLAINTIFFS         TOTAL NUMBER OF DEFENDANTS            COMMENCEMENT OF ACTION
                                                                          n   Complaint               •     Petition Action                  •   Notice of Appeal
               11                                     4
                                                                         .    Writ of Summons         •     Transfer From Other Jurisdictions

AMOUNT IN CONTROVERSY          COURT PROGRAMS

                               •   Arbitration              •    Mass Tort                            •     Commerce                     •       Settlement
•    $50,000.00 or less
                               ri Jury                      •    Savings Action                       •     Minor Court Appeal           •       Minors
PI More than $50,000.00        •   Non-Jury                 .    Petition                             •     Statutory Appeals            •       W/D/Survival
                               •   Other:                                                         ,
CASE TYPE AND CODE                                              a       Asti 1
    2O -    PERSONAL INJURY -              OTHER


STATUTORY BASIS FOR CAUSE OF ACTION              %
                                                                    I             fr.*                -"-



RELATED PENDING CASES (LIST BY CASE CAPTION AND DOCKET NUMBER)             FILED                                              IS CASE SUBJECT TO
                                                                                                                              COORDINATION ORDER?
                                                                         PRO PROW(                                                        YES          NO


                                                                        MAY 17 2023
                                                                              S. RICE
TO THE PROTHONOTARY:
Kindly enter my appearance on behalf of Plaintiff/Petitioner/Appellant: ISABELLA ALBA ,                                 MORGAN BLACK ,                 NINA

Papers may be served at the address set forth below.

NAME OF PLAINTIFFS/PETITIONER'S/APPELLANTS ATTORNEY                            ADDRESS

    THOMAS R. KLINE                                                             KLINE & SPECTER
                                                                                1525 LOCUST ST., 19TH FL.
PHONE NUMBER                             FAX NUMBER
                                                                                PHILADELPHIA PA 19102
    (215)772-1000                        (215)772-1359

SUPREME COURT IDENTIFICATION NO.                                               E-MAIL ADDRESS

    28895                                                                       tom.kline@klinespecter.com

SIGNATURE OF FILING ATTORNEY OR PARTY                                          DATE SUBMITTED

    THOMAS     KLINE                                                            Wednesday, May 17, 2023, 02:39 pm
                                                  FINAL COPY (Approved by the Prothonotary Clerk)
           Case 2:23-cv-03695-KNS Document 1-4 Filed 09/22/23 Page 3 of 35


COMPLETE LIST OF PLAINTIFFS:
    1. ISABELLA ALBA
        1330 NORTH 15TH STREET UNIT D
         PHILADELPHIA PA 19121
    2. MORGAN BLACK
        1330 NORTH 15TH STREET, UNIT D
         PHILADELPHIA PA 19121
    3. NINA CARSELLO
        1330 NORTH 15TH STREET, UNIT D
         PHILADELPHIA PA 19121
    4. AUTUMN DINENNA
        1330 NORTH 15TH STREET, UNIT D
         PHILADELPHIA PA 19121
    5. DYLAN GIANDONATO
        1852 NORTH 17TH STREET
         PHILADELPHIA PA 19121
    6. KAELIN IWUGO
        1705 WEST MONTGOMERY AVENUE
         PHILADELPHIA PA 19121
    7. EMMA JANOSCZYK
        1805 NORTH BOUVIER STREET
         PHILADELPHIA PA 19121
    8. JOSIE LEMON
        1728 NORTH BOUVIER STREET
         PHILADELPHIA PA 19121
    9. JAKE RIDALL
        1852 NORTH 17TH STREET
         PHILADELPHIA PA 19121
    10. HELEN TORMOLLAN
        1330 NORTH 15TH STREET, UNIT D
         PHILADELPHIA PA 19121
    11. MYLA VETTERLEIN
        1330 NORTH 15TH STREET, UNIT D
         PHILADELPHIA PA 19121


COMPLETE LIST OF DEFENDANTS:
    1. 15TH STREET LIGHTHOUSE LP
        1955 NORTH 18TH STREET
         PHILADELPHIA PA 19121
    2. CTW INTERNATIONAL HOLDING, LLC
        1955 NORTH 18TH STREET
         PHILADELPHIA PA 19121
    3. JBMP REAL ESTATE GROUP LLC
        ALIAS: JBMP GROUP
        1133 EAST COLUMBIA AVENUE SUITE 101
         PHILADELPHIA PA 19125
    4. PIP PROPERTY MANAGEMENT, LLC
        ALIAS: PRINCETON INTERNATIONAL PROPERTIES
         4422 ROUTE 27
         PRINCETON NJ 08528
       Case 2:23-cv-03695-KNS Document 1-4 Filed 09/22/23 Page 4 of 35




KLINE & SPECTER, PC                                              Filed and Attested by the
By:     THOMAS R. KLINE, ESQUIRE                                Office of Judicial Records
        LORRAINE DONNELLY, ESQUIRE                                 17 MAY 2023 02:39 pm
        GRACE C. GRIMES, ESQUIRE                                          S. RICE
Attorney I.D. No. 28895/93352/332232
1525 Locust Street
Philadelphia, PA 19102
215-772-1000 / 215-792-5503 (facsimile)
tom.kline@klinespecter.com
lorraine.donnelly@klinespecter.com
grace.grimes@klinespecter.com              Attorneysfor Plaintiff

ISABELLA ALBA
1330 North 15th Street                    : COURT OF COMMON PLEAS
Unit D                                    : PHILADELPHIA COUNTY
Philadelphia PA 19121
               and
MORGAN BLACK                              : May Term, 2023
1330 North 15th Street
Unit D                                    : NO:
Philadelphia PA 19121
               and
NINA CARSELLO
1330 North 15th Street                    : JURY TRIAL DEMANDED
Unit D
Philadelphia PA 19121
               and
AUTUMN DINENNA                            : NOTICE TO DEFEND AND COMPLAINT
1330 North 15th Street
Unit D
Philadelphia PA 19121
               and
DYLAN GIANDONATO
1852 North 17th Street
Philadelphia PA 19121
               and
KAELIN IWUGO
1705 West Montgomery Avenue
Philadelphia PA 19121
               and
EMMA JANOSCZYK
1805 North Bouvier Street
Philadelphia PA 19121
               and




                                                                              Case ID: 230501890
       Case 2:23-cv-03695-KNS Document 1-4 Filed 09/22/23 Page 5 of 35




JOSIE LEMON
1728 North Bouvier Street
Philadelphia PA19121
               and
JAKE RIDALL
1852 North 17th Street
Philadelphia PA 19121
               and
HELEN TORMOLLAN
1330 North 15th Street
Unit D
Philadelphia PA 19121
               and
MYLA VETTERLEIN
1330 North 15th Street
Unit D
Philadelphia PA 19121

                      Plaintiffs

               v.

15th STREET LIGHTHOUSE LP
1955 North 18th Street
Philadelphia PA 19121
               and
CTW INTERNATIONAL
HOLDING, LLC
1955 North 18th Street
Philadelphia PA 19121
               and
JBMP REAL ESTATE GROUP LLC
d/b/a/ JBMP GROUP
1133 East Columbia Avenue Suite 101
Philadelphia PA 19125
               and
PIP PROPERTY MANAGEMENT,
LLC d/b/a/ PRINCETON
INTERNATIONAL PROPERTIES
4422 Route 27
Princeton NJ 08528

                    Defendants.




                                      2
                                                                         Case ID: 230501890
         Case 2:23-cv-03695-KNS Document 1-4 Filed 09/22/23 Page 6 of 35




                                          NOTICE TO DEFEND

                        NOTICE                                                          ADVISO
You have been sued in court. If you wish to defend              Le han demandado a used en la corte. Si usted quiere
against the claims set forth in the following pages, you        defenderse de estas demandas expuestas en las paginas
must take action within twenty (20) days after this             siguientes, usted tiene veinte (20) dias de plazo al partir
complaint and notice are served, by entering a written          de la fecha de la demanda y la notificacion. Hace falta
appearance personally or by attorney and filing in              asentar una comparencia escrita o en persona o con un
writing with the court your defenses or objections to the       abogado y entregar a la corte en forma escrita sus
claims set forth against you. You are warned that if you        defensas o sus objeciones a las demandas en contra de
fail to do so the case may proceed without you and a            su persona. Sea avisado que si usted no se defiende, la
judgment may be entered against you by the court                corte tomara medidas y puede continuar la demanda en
without further notice for any money claimed in the             contra suya sin previo aviso o notificacion. Ademas, la
complaint or for any other claim or relief requested by         corte pueda decidir a favor del demandante y requiere
the plaintiff. You may lose money or property or other          que usted cumpla con todas las provisioner de esta
rights important to you.                                        demanda. Usted puede perder dinero o sus propiedades
                                                                u otros derechos importantes para usted.
You should take this paper to your lawyer at once. If
you do not have a lawyer, go to or telephone the office         Lleve esta demanda a un abogado inmediatamente, si no
set forth below to find out where you can get legal help.       tiene abogado o si no tiene el dinero suficiente de pagar
                                                                tal servicio, vaya en persona o llame por telefono a la
                                                                oficina cuya direccion se encuentra escrita abajo para
                                                                averiguar donde se puede conseguir asistencia legal.
               Lawyer Referral Service
             Philadelphia Bar Association                                      Lawyer Referral Service
             1101 Market Street, 11th Floor                                  Philadelphia Bar Association
                Philadelphia, PA 19107                                       1101 Market Street, 11th Floor
                    (215) 238-6338                                              Philadelphia, PA 19107
                                                                                    (215) 238-6338




                                                            3
                                                                                                                 Case ID: 230501890
        Case 2:23-cv-03695-KNS Document 1-4 Filed 09/22/23 Page 7 of 35




                                             COMPLAINT

       Plaintiffs, Isabella Alba, Morgan Black, Nina Carsello, Autumn Dinenna, Dylan

Giandonato, Kaelin Iwugo, Emma Janosczyk, Josie Lemon, Jake Ridall, Helen Tormollan and

Myla Vetterlein, by and through their undersigned counsel, Kline & Specter P.C., hereby demand

damages of the above captioned Defendants, jointly and severally, for sums in excess of local

arbitration limits, exclusive of interests, costs and damages for prejudgment delay, upon the cause

of action set forth below:

                                        INTRODUCTION

       In the early morning hours of November 11, 2022, two masked intruders entered through

a broken gate at the premises of 1330 North 15th Street, Philadelphia, Pennsylvania and proceeded

to invade an apartment where eleven Temple University students slept. The eleven young students

were held hostage at gunpoint for over an hour and a half. As a result of Defendants' negligent

maintenance, operation, ownership, and construction of the premises, Plaintiffs have suffered and

will in the future continue to suffer anxiety attacks, panic attacks, fear, anger, shock, depression,

shame, guilt, nightmares, difficulty sleeping, and emotional and psychological injures derived

from this horrific experience. The emotional distress will have long lasting implications on

Plaintiffs' quality and enjoyment of life.

                                     VENUE AND PARTIES

       1.      Plaintiff, Isabella Alba, is a 21-year-old student at Temple University.

       2.      Isabella is a resident and citizen of the Commonwealth of Pennsylvania residing at

1330 North 15th Street, Unit D, Philadelphia, Pennsylvania 19121.

       3.      Plaintiff, Morgan Black, is a 21-year-old student at Temple University.



                                                 4
                                                                                           Case ID: 230501890
        Case 2:23-cv-03695-KNS Document 1-4 Filed 09/22/23 Page 8 of 35




       4.     Morgan is a resident and citizen of the Commonwealth of Pennsylvania residing at

1330 North 15th Street, Unit D, Philadelphia, Pennsylvania 19121.

       5.     Plaintiff, Nina Carsello, is a 22-year-old student at Temple University.

       6.     Nina is a resident and citizen of the Commonwealth of Pennsylvania residing at

1330 North 15th Street, Unit D, Philadelphia, Pennsylvania 19121.

       7.     Plaintiff, Autumn Dinenna, is a 21-year-old student at Temple University.

       8.     Autumn is a resident and citizen of the Commonwealth of Pennsylvania residing at

1330 North 15th Street, Unit D, Philadelphia, Pennsylvania 19121.

       9.     Plaintiff, Dylan Giandonato, is a 21-year-old student at Temple University.

       10.    Dylan is a resident and citizen of the Commonwealth of Pennsylvania residing at

1852 North 17th Street, Philadelphia, Pennsylvania 19121.

       11.    Plaintiff, Kaelin Iwugo, is a 21-year-old student at Temple University.

       12.    Kaelin is a resident and citizen of the Commonwealth of Pennsylvania residing at

1705 West Montgomery Avenue, Philadelphia, Pennsylvania, 19121.

       13.    Plaintiff, Emma Janosczyk, is a 21-year-old student at Temple University.

       14.    Emma is a resident and citizen of the Commonwealth of Pennsylvania residing at

1805 North Bouvier Street, Philadelphia, Pennsylvania, 19121.

       15.    Plaintiff, Josie Lemon, is a 20-year-old student at Temple University.

       16.    Josie is a resident and citizen of the Commonwealth of Pennsylvania residing at

1728 North Bouvier Street, Philadelphia, Pennsylvania, 19121.

       17.    Plaintiff, Jake Ridall, is a 20-year-old student at Temple University.

       18.    Jake is a resident and citizen of the Commonwealth of Pennsylvania residing at

1852 North 17th Street, Philadelphia, Pennsylvania 19121.



                                                5
                                                                                         Case ID: 230501890
        Case 2:23-cv-03695-KNS Document 1-4 Filed 09/22/23 Page 9 of 35




       19.     Plaintiff, Helen Tormollan, is a 22-year-old student at Temple University.

       20.     Helen is a resident and citizen of the Commonwealth of Pennsylvania residing at

1330 North 15th Street, Unit D, Philadelphia, Pennsylvania 19121.

       21.     Plaintiff, Myla Vetterlein, is a 22-year-old student at Temple University.

       22.     Myla is a resident and citizen of the Commonwealth of Pennsylvania residing at

1330 North 15th Street, Unit D, Philadelphia, Pennsylvania 19121.

       23.     Defendant, 15th Street Lighthouse, LP, is a limited partnership or other legal entity

organized and existing under the laws of the Commonwealth of Pennsylvania with an office and/or

principal place of business located at 1955 North 18th Street, Philadelphia, Pennsylvania 19121.

       24.     At all relevant times hereto, 15th Street Lighthouse, LP owned, operated, leased,

managed and/or controlled the premises located at 1330 North 15th Street, Unit D, Philadelphia,

Pennsylvania 19121.

       25.     Defendant, CTW International Holding, LLC is a Pennsylvania company or other

legal entity organized and existing under the laws of the Commonwealth of Pennsylvania with an

office and/or principal place of business located at 1955 North 18th Street, Philadelphia,

Pennsylvania 19121.

       26.     At all times relevant hereto, Defendant CTW International Holding, LLC owned,

operated, leased, managed and/or controlled the premises located at 1330 North 15th Street, Unit

D, Philadelphia, Pennsylvania 19121.

       27.     Defendant, JBMP Real Estate Group, LLC d/b/a/ JBMP Group is a Pennsylvania

company or other legal entity organized and existing under the laws of the Commonwealth of

Pennsylvania with an office and/or principal place of business located at 1133 East Columbia

Avenue, Suite 101, Philadelphia, Pennsylvania 19125.



                                                 6
                                                                                            Case ID: 230501890
         Case 2:23-cv-03695-KNS Document 1-4 Filed 09/22/23 Page 10 of 35




         28.   At all relevant times hereto, Defendant JBMP Real Estate Group, LLC (hereinafter

"JBMP Group") owned, operated, leased, managed and/or controlled the premises located at 1330

North 15th Street, Unit D, Philadelphia, Pennsylvania 19121.

         29.   Defendant, PIP Property Management, LLC, d/b/a Princeton International

Properties, Inc., (hereinafter "PIP") is a New Jersey company with an address located at 4422

Route 27, Princeton, New Jersey 08528 and a registered office at 1654 Ridge Avenue Suite 1,

Philadelphia, Pennsylvania 19130.

         30.   At all relevant times hereto, PIP owned, operated, leased, managed and/or

controlled the premises located at 1330 North 15th Street, Unit D, Philadelphia, Pennsylvania

19121.

         31.   At all times relevant hereto, the Defendants, 15th Street Lighthouse, LP; CTW

International Holding, LLC; JBMP Group; and PIP were the agents, brokers, servants, alter-egos,

instrumentalities, and/or employees of one another, and collectively and/or through joint venture

owned, operated, managed, and/or controlled the premises located at 1330 North 15th Street, Unit

D, Philadelphia, Pennsylvania 19121.

         32.   Venue is proper in the Philadelphia Court of Common Pleas as the cause of action

arose in Philadelphia and one or more Defendants regularly conduct business in Philadelphia.

                                    OPERATIVE FACTS

         A. THE PROPERTY

         33.   The paragraphs and allegations set forth above are fully incorporated by reference

as though fully set forth herein.

         34.   The 1330 North 15th Street property ("Defendants' property") is located in North

Philadelphia just a few short blocks from Temple University's Main Campus.



                                               7
                                                                                        Case ID: 230501890
        Case 2:23-cv-03695-KNS Document 1-4 Filed 09/22/23 Page 11 of 35




       35.     Defendants' property is comprised of about 7 apartment-style townhomes,

accessible from the street through a gate.

       36.     The gate leads to an alleyway, perpendicular to the street, which allows access to

the front doors of each unit.

       37.     The alleyway is poorly lit, to the extent that it is pitch black during the nighttime

and early morning hours, providing ideal cover for intruders and trespassers who seek entry into

tenants' homes therein.

       38.     Plaintiffs, Isabella Alba, Morgan Black, Nina Carsello, Autumn Dinenna, Helen

Tormollan, and Myla Vetterlein occupied Unit D of the property, towards the end of the dimly lit

alleyway.

       39.     When the apartment units were listed for rent, Defendants touted "gated access

from the street, 24/7 secure access, security monitors and private entrances for each unit."

       40.     Defendants marketed to and/or solicited Temple students as tenants, stating in their

property listing that the complex is located "just a few short blocks from Temple Universities [sic]

main campus."

       41.     When the apartment units were listed for rent, Defendants claimed the units were

"perfect to host guests," but Defendants have since removed this line from the property listing.

       42.     When Plaintiffs, Isabella Alba, Morgan Black, Nina Carsello, Autumn Dinenna,

Helen Tormollan, and Myla Vetterlein showed interest in the apartments at Defendants' property,

Defendants represented to Plaintiffs that the units and the property were safe and secure.

       B. THE WINDOWS

       43.     The paragraphs and allegations set forth above are fully incorporated by reference

as though fully set forth herein.



                                                 8
                                                                                             Case ID: 230501890
        Case 2:23-cv-03695-KNS Document 1-4 Filed 09/22/23 Page 12 of 35




       44.     The kitchen windows to Unit D on Defendants' property are sliding windows which

are opened by sliding the windowpanes from one side to the other.

       45.     The kitchen windows to Unit D are near floor-to-ceiling windows.

       46.     The kitchen windows to Unit D slide open easily.

       47.     The kitchen windows to Unit D are approximately 5 to 6 feet tall.

       48.     Prior to and on November 11, 2022, the sliding windows to Unit D did not have

functioning locks.

       49.     Prior to and on November 11, 2022, anyone could slide the windowpanes open and

enter Unit D from the outside.

       C. THE GATE

       50.     The paragraphs and allegations set forth above are fully incorporated by reference

as though fully set forth herein.

       51.     When Plaintiffs, Isabella, Morgan, Nina, Autumn, Helen, and Myla showed interest

in the apartments at Defendants' property, Defendants made the exterior gate a selling point of the

property.

       52.     Based on Defendants' representations about the gate, Plaintiffs reasonably

anticipated that the property was safe and secure.

       53.     The exterior gate was constructed to have a keypad lock, to be opened by inputting

a unique access code into a numerical pad.

       54.     The purpose of the gate and its keypad lock was to provide an assurance that only

tenants, and their invited guests, gained ingress.

       55.     Defendants undertook a duty to supply tenants and their invited guests with a

functional, locked exterior gate.



                                                     9
                                                                                          Case ID: 230501890
        Case 2:23-cv-03695-KNS Document 1-4 Filed 09/22/23 Page 13 of 35




        56.        When Plaintiffs, Isabella, Morgan, Nina, Autumn, Helen, and Myla moved-in to

Defendants' property on August 15, 2021, the gate was broken and did not lock.

        57.        When Plaintiffs, Isabella, Morgan, Nina, Autumn, Helen, and Myla moved-in to

Defendants' property, the keypad lock was already inoperative.

        58.        When Plaintiffs, Isabella, Morgan, Nina, Autumn, Helen, and Myla moved-in to

Defendants' property, the gate could be opened by anyone without inputting any access code into

the keypad.

        59.        On August 15, 2021, Plaintiffs, Isabella, Morgan, Nina, Autumn, Helen, and Myla

notified management that the gate and keypad lock were not functioning and appeared broken.

        60.        From that point forward, for almost a year-and-a-half of Plaintiffs' occupancy, the

gate was inoperative more often than it was functional.

        61.        From that point forward, for almost a year-and-a-half of Plaintiffs' occupancy, the

keypad lock was inoperative more often than it was functional.

        62.        For almost a year-and-a-half, the gate could easily be accessed by anyone from the

street without an access code by simply pulling the handle and walking in.

        63.        The problems with the gate persisted despite requests that repairs be made to the

gate.

        64.        Defendants provided assurances that they would repair the gate, but ultimately

failed to do so.

        65.        The broken gate, poorly lit alleyway, and unlocked kitchen window which can be

easily opened from the outside created the perfect opportunity for intruders and trespassers to

access the apartment units therein.

        66.        Despite the obviously defective and unsafe conditions on the property and tenants



                                                   10
                                                                                             Case ID: 230501890
         Case 2:23-cv-03695-KNS Document 1-4 Filed 09/22/23 Page 14 of 35




regarding unsafe conditions prior to November 11, 2022, all Defendants failed to make repairs and

uphold their duty to supply their tenants and their invited guests with reasonable safety measures,

such as a functional gate, functional locks on windows, and adequate lighting in their alleyway.

         D. THE HOME INVASION

         67.   The paragraphs and allegations set forth above are fully incorporated by reference

as though fully set forth herein.

         68.   In the early morning hours of November 11, 2022, two masked intruders entered

through the broken gate at the premises of 1330 North 15th Street, and proceeded to enter Unit D,

where eleven Temple University students slept: Isabella Alba, Morgan Black, Nina Carsello,

Autumn Dinenna, Dylan Giandonato, Kaelin Iwugo, Emma Janosczyk, Josie Lemon, Jake Ridall,

Helen Tormollan, and Myla Vetterlein.

         69.   The intruders held the eleven Plaintiffs hostage at gun and knife point for over an

hour and a half while they demanded money, cell phones, debit and credit cards, laptops, and car

keys.

         70.   The intruders demanded that Plaintiffs turn over any drugs in the home. Plaintiffs

stated that there were no drugs.

         71.   The armed assailants began in the basement bedrooms of Unit D, where Plaintiffs

Autumn, Dylan, Helen, and Kaelin were sleeping.

         72.    Plaintiff, Helen Tormollan, was abruptly roused out of her sleep to the sound of

her bedroom door creaking open and the lights flickering on suddenly.

         73.   The first thing Helen saw when she opened her eyes was two strange men dressed

in dark clothing and ski masks, invading the privacy of her bedroom, and heading towards her with

a gun.



                                                11
                                                                                          Case ID: 230501890
        Case 2:23-cv-03695-KNS Document 1-4 Filed 09/22/23 Page 15 of 35




       74.     At the same time, Plaintiff, Kaelin Iwugo, who was sleeping next to Helen, opened

his eyes to find a gun pointed right at him.

       75.     The intruders ordered Helen and Kaelin to turn over their cell phones, to which

Helen and Kaelin complied.

       76.     Meanwhile, one of the armed intruders proceeded to walk across the hall to the

other basement bedroom, where Plaintiffs Autumn Dinenna and Dylan Giandonato slept.

       77.     Autumn was awoken suddenly to find a man in a ski mask standing in her bedroom,

pointing a gun at her. Her boyfriend, Dylan, lay asleep beside her.

       78.     Likewise, Dylan was suddenly roused out of his sleep to find a gun pointed right at

him.

       79.     At gunpoint, Dylan was ordered to get down onto the floor and lay face down.

Dylan complied.

       80.     The armed intruder marshalled Helen and Kaelin into Autumn's bedroom. They

entered to fmd Autumn, distraught on her bed, wearing only a sweatshirt, and Dylan, who was

naked, lying face down on the floor.

       81.     The armed intruders ordered Helen to get on the bed with Autumn.

       82.     The armed intruders ordered Kaelin to tie up Dylan.

       83.     Kaelin was forced at gunpoint to tie Dylan's legs together with phone and laptop

charger cords. The intruder repeatedly instructed Kaelin to "tie the cords tighter. Tighter. Tighter."

       84.     Thereafter, the armed intruders ordered Kaelin to lay on the ground facedown,

while one of the intruders bound his legs together with phone and laptop cords.

       85.     When the armed intruders finished restraining Dylan and Kaelin, one of the

intruders grabbed Autumn and led her upstairs, gripping her tightly by the back of her sweatshirt.



                                                 12
                                                                                            Case ID: 230501890
        Case 2:23-cv-03695-KNS Document 1-4 Filed 09/22/23 Page 16 of 35




        86.    Dylan feared for his girlfriend's life and her safety as the intruder led her out of the

room.

        87.    The intruder led Autumn upstairs to the kitchen, grabbed a kitchen knife, and held

it to Autumn's back.

        88.    The intruder then held the tip of the knife to Autumn's back and ushered her upstairs

to corral the rest of the Unit D occupants.

        89.    The intruder first collected Plaintiffs, Emma Janosczyk and Josie Lemon, who were

asleep in the common living area on the second floor.

        90.    Emma awoke suddenly to see a strange man wearing a ski mask and sunglasses

standing over her. He was holding a knife to one of her best friends, Autumn.

        91.    Josie opened her eyes to a man wearing a pair of sunglasses, and saw that her friend

Autumn was upset, and her face was all twisted and distraught.

        92.    The armed intruder took Emma's phone and ordered her to line up.

        93.    The armed intruder took Josie's phone and ordered her to line up.

        94.    In a single file line, Emma, Josie, and Autumn were marshalled downstairs to the

basement by the intruder with a knife.

        95.    Emma and Josie entered the basement to find a gun pointed at their faces, at which

time, they realized there was a second armed intruder. They saw Kaelin face-down on the floor in

just his boxers, tied-up, and Dylan face-down on the floor naked and tied-up.

        96.    Emma noticed that her closest friend, Helen, was in a panic, and could see on her

face that she was going to be sick.

        97.    The female victims feared being forced to strip and feared sexual assault.

        98.    The armed intruders ordered, "Alright ladies, on the bed." Josie and Emma joined



                                                 13
                                                                                             Case ID: 230501890
        Case 2:23-cv-03695-KNS Document 1-4 Filed 09/22/23 Page 17 of 35




Helen on the bed while the knife wielding intruder brought Autumn back upstairs to repeat the

process.

       99.       The intruder held the tip of the knife to Autumn's back and again led her upstairs

to the third floor where Plaintiffs, Isabella Alba and Nina Carsello slept.

       100.      Nina awoke in a panic to see a man in a ski mask and sunglasses in her room, who

was holding one of her best friends, Autumn, at knifepoint. Nina handed over her phone and said,

"Take anything you want."

       101.      Next, the armed intruder brought Autumn into Isabella's room, where Isabella lay

asleep, naked.

       102.      Isabella awoke in a panic to find a man in a ski mask standing over her. She pleaded

to put clothes on, but the intruder denied her. Before being ordered out of the bedroom by the

intruder, Isabella grabbed a blanket and wrapped it around herself.

       103.      Again, the armed intruder led Isabella, Nina, and Autumn downstairs to the

basement at knifepoint, where they found their friends tied up and unclothed. The intruder again

ordered, "All girls on the bed."

       104.      The armed intruder once more brought Autumn upstairs, at knifepoint, to the top

floor bedrooms, where Plaintiffs Myla Vetterlein, Morgan Black, and Jake Ridall slept.

       105.      The armed intruder first brought Autumn into a room where Morgan, and her

boyfriend, Jake, were asleep.

       106.      The armed intruder instructed Autumn to wake Morgan and Jake.

       107.      When Morgan and Jake first awoke, they saw Autumn standing over her. Autumn

broke down, sobbing, and said, "Get up, we're getting robbed."

       108.      Morgan then saw a man in all black, wearing a ski mask, appear from behind



                                                  14
                                                                                            Case ID: 230501890
        Case 2:23-cv-03695-KNS Document 1-4 Filed 09/22/23 Page 18 of 35




Autumn with a knife. Morgan panicked and tried not to look at the man or the knife. She started

sobbing.

       109.    Morgan, who was not fully clothed, was ordered to get out of bed, hand over her

phone, and line up.

       110.    Jake awoke suddenly out of his sleep to find Autumn and the intruder standing in

his girlfriend's room. Jake, confused and afraid for himself and for his girlfriend, complied with

the intruder's orders to turn over his cell phone and to line up.

       111.    The armed intruder next went into Myla's room.

       112.    Myla awoke suddenly in a panic to see a man in a ski mask standing in her bedroom

with a knife. He said, "I want you to know I'm here for a reason."

       113.    Repeating the process, the armed intruder forced Myla, Morgan, Jake, and Autumn

downstairs to the basement.

       114.    Myla, Morgan, and Jake entered the basement to find five of their best friends

huddled, shaking, and crying on Autumn's bed, and two more, Dylan and Kaelin, unclothed and

tied up, face-down on the ground.

       115.    The armed intruders ordered Myla and Morgan onto the bed and ordered Jake to

lay face down on the ground next to Dylan and Kaelin.

       116.    At this point, all eleven Plaintiffs and the two armed intruders were crowded in

Autumn's 10x10 basement bedroom.

       117.    After collecting all cell phones, the armed intruders then communicated that all

Plaintiffs were to log out of the iCloud accounts on their cell phones.

       118.    The armed intruders ordered each young woman to the front of the room, one-by-

one. One intruder stood over their shoulder and pointed the gun at the nape of their necks and



                                                 15
                                                                                         Case ID: 230501890
         Case 2:23-cv-03695-KNS Document 1-4 Filed 09/22/23 Page 19 of 35




monitored as they logged out of their accounts.

         119.   Throughout this long process, the armed intruders invoked more fear into their

victims by threatening them, and mocking their fear.

         120.   The armed assailants cursed and screamed at the girls for crying.

         121.   The more that Plaintiffs would cry, the angrier the armed intruders became.

         122.   The armed intruders mocked Dylan for being naked and shivering cold on the floor.

         123.   The armed intruders threatened violence and made threats to kill Plaintiffs if they

misbehaved.

         124.   The armed intruders laughed at Plaintiffs and called the female Plaintiffs, "baby

girl."

         125.   The armed intruders appeared to derive pleasure out of humiliating and terrorizing

Plaintiffs.

         126.   Various Plaintiffs suffered panic attacks as they waited for their turn to log out of

their accounts in the bathroom with the armed intruder, and felt as if they were going to throw up.

         127.   Morgan pleaded to throw up in the bathroom, but the intruders denied her.

         128.   Other Plaintiffs went into shock and disassociated to avoid falling into a panic

attack, because they knew it made the armed intruders angrier.

         129.   When Kaelin could not log out the accounts on his cell phone, the armed intruders

became increasingly angry. With every failed attempt, the intruder would lower the gun closer to

Kaelin's head, screaming, "You have one more chance, or else it's game over."

         130.   Plaintiffs thought Kaelin was going to be killed in front of them.

         131.   Kaelin also thought he was going to die, as the gun was pointed at his head and he

was just a trigger-pull away from death.



                                                  16
                                                                                           Case ID: 230501890
        Case 2:23-cv-03695-KNS Document 1-4 Filed 09/22/23 Page 20 of 35




       132.    When Kaelin failed once more, the armed intruder, irate and frenzied, snatched the

phone out of Kaelin's hand and smashed it on the ground next to his face, then threw it against the

walls, and again against the floor.

       133.    Once the armed intruders had finished with the phones, they ransacked the

apartment. One intruder held Plaintiffs at gunpoint in the bedroom while the other intruder scoured

the home for car keys, wallets, debit and credit cards, cash, laptops, purses, and other possessions.

       134.    With their newly found debit cards, the armed intruders again repeated the process,

calling each female Plaintiff into the bathroom, one-by-one, at gunpoint, to write down the PIN

for their debit cards and the amount of money in each account.

       135.    The armed intruders threatened violence against the Plaintiffs if they provided

incorrect information.

       136.    With their newly found laptops, the armed intruders again repeated the process,

calling each female Plaintiff into the bathroom one-by-one, at gunpoint, to log out of the iCloud

accounts on their laptops.

       137.    Once the armed intruders realized it was getting light outside, the two men

abandoned the laptops, nodded at each other, and finally, they left the room.

       138.    The armed intruders took with them Plaintiffs' debit and credit cards, cell phones,

cash, sunglasses, purses, wallets, and the keys to a 2015 Lincoln MKZ, which the intruders used

as their getaway car.

       139.    Before the armed intruders left, they ordered, "Stay f*cking still."

       140.    The armed intruders tied the basement door to prevent the Plaintiffs' escape.

       141.    Plaintiffs, locked in the basement and afraid to move, sat silently until they heard

the shuffling upstairs cease.



                                                 17
                                                                                           Case ID: 230501890
        Case 2:23-cv-03695-KNS Document 1-4 Filed 09/22/23 Page 21 of 35




        142.   When the intruders had finally left, the Plaintiffs experienced mental, emotional,

and psychological breakdowns.

        143.   Plaintiffs were eventually able to contact a friend on a laptop, and the friend

contacted the police.

        144.   In total, the armed intruders were inside the property and held Plaintiffs hostage for

approximately an hour and a half.

        145.   Prior to this home invasion robbery, Defendants were aware that the gate to their

property was not functional yet failed to repair the gate, instead allowing the gate to remain in

disrepair.

        146.   As a direct and proximate result of the negligence of all Defendants, jointly and

severally, and their agents, servants and/or employees who were responsible for providing property

management services, leasing services, development services, and/or repair services on or before

November 11, 2022, Plaintiffs suffered injuries and will in the future suffer injuries including the

following:

               a) anxiety;

               b) panic attacks;

               c) humiliation;

               d) extreme fear;

               e) shock;

               f) depression;

               g) shame;

               h) guilt;

               i) anger;



                                                18
                                                                                           Case ID: 230501890
        Case 2:23-cv-03695-KNS Document 1-4 Filed 09/22/23 Page 22 of 35




               j) nightmares;

               k) flashbacks;

               1) sleep disturbances;

               m) hypervigilance;

               n) inability to concentrate;

               o) pain and suffering;

               p) mental anguish;

               q) loss of enjoyment of life's pleasures; and

               r) emotional and psychological trauma.



                                                 COUNT I
                                              NEGLIGENCE
                                        Plaintiffs v. All Defendants

       147.    The paragraphs and allegations set forth above are fully incorporated by reference

as though fully set forth herein.

       148.    The negligence of the Defendants individually and through their agents consisted

of one or more of the following:

           a) failing to exercise reasonable care to ensure that the security measures Defendants
              offered to tenants and guests were properly performed;

           b) failing to provide reasonable and adequate security measures for the premises;

           c) failing to exercise reasonable care in ownership of the property, specifically in
              providing and maintaining a functional, locked exterior gate;

           d) failing to exercise reasonable care in management of the premises, specifically in
              providing and maintaining a functional, locked exterior gate;

           e) failing to exercise reasonable care in operating the premises, specifically in
              providing and maintaining a functional, locked exterior gate;



                                                 19
                                                                                        Case ID: 230501890
       Case 2:23-cv-03695-KNS Document 1-4 Filed 09/22/23 Page 23 of 35




           f) failing to exercise reasonable care in leasing the premises, specifically in providing
              and maintaining a functional, locked exterior gate;

           g) failing to exercise reasonable care in construction of the property, specifically in
              providing a functional, locked exterior gate;

           h) refusing to correct a known and verifiable defect in security;

           i) failure to have sufficient lighting on the premises;

           j) failure to implement functional locks on the windows;

           k) failure to provide a reasonably safe premises for Plaintiffs;

           1) failure to provide appropriate and sufficient repairs to the exterior gate to ensure
              the safety of Plaintiffs and persons similarly situated;

           m) failure to hire adequate property management;

           n) failure to properly train property management;

           o) failure to hire adequate repair personnel;

           p) failure to provide appropriate security measures;

           q) failure to promptly and effectively respond to requests for repair;

           r) failure to have in place policies and procedures which could have been followed
              and which would have ensured that repairs were promptly and adequately addressed
              and completed;

           s) negligent selection and/or monitoring of independent contractors who provided
              repair services;

           t) failure to inspect the property to determine the existence of dangerous conditions
              such as the lack of a functional, locked exterior gate;

           u) failure to inspect the property to determine the existence of dangerous conditions
              such as the lack of functional locks on windows; and

           v) failure to inspect the property to determine the existence of dangerous conditions
              such as the lack of lighting in the alleyway.

       149.    The combined negligence of the Defendants and their respective agents and

employees, as set forth above, placed Plaintiffs at an increased risk of harm and/or was a factual

                                                20
                                                                                          Case ID: 230501890
        Case 2:23-cv-03695-KNS Document 1-4 Filed 09/22/23 Page 24 of 35




cause and/or substantial cause and did directly and proximately cause the severe, permanent, and

grievous personal injuries and damages previously described herein.

       WHEREFORE, Plaintiffs demand damages against all Defendants, jointly and severally,

for sums in an amount in excess of local prevailing arbitration limits, exclusive of pre-judgment

interest, post judgment interest, and costs.




                                                      Respectfully Submitted,

                                                      KLINE & SPECTER, PC



                                               By:                     AK
                                                          AS R. KLINE, ESQUIRE
                                                      LORRAINE DONNELY, ESQUIRE
                                                      GRACE C. GRIMES, ESQUIRE

                                                      Attorneys for Plaintiff



Date: May 17, 2023




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                                                      VERIFICATION


                  I, Isabella Alba, hereby verify that I am the plaintiff in the foregoing action; that the

           attached Complaint is based upon information which I have furnished to my counsel and

           information which has been gathered by my counsel in the preparation of the lawsuit. The language

           of the Complaint is that of counsel and not of affiant. I have read the Complaint and to the extent

           that the allegations therein are based upon information I have given counsel, they are true and

           correct to the best of my knowledge, information, and belief. To the extent that the contents of the

           Complaint are that of counsel, I have relied upon counsel in making this Verification. I understand

           that false statements made herein are made subject to the penalties of 18 Pa. C.S.A. § 4904 relating

           to unworn falsifications to authorities.




                05/04/2023
           DATE                                                         ISABELLA ALBA




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                                                      VERIFICATION


                  I, Morgan Black, hereby verify that I am the plaintiff in the foregoing action; that the

           attached Complaint is based upon information which I have furnished to my counsel and

           information which has been gathered by my counsel in the preparation of the lawsuit. The language

           of the Complaint is that of counsel and not of affiant. I have read the Complaint and to the extent

           that the allegations therein are based upon information I have given counsel, they are true and

           correct to the best of my knowledge, information, and belief. To the extent that the contents of the

           Complaint are that of counsel, I have relied upon counsel in making this Verification. I understand

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           to unworn falsifications to authorities.




                 05/04/2023
           DATE                                                         MORGAN BLACK




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                                                      VERIFICATION


                  I, Nina Carsello, hereby verify that I am the plaintiff in the foregoing action; that the

           attached Complaint is based upon information which I have furnished to my counsel and

           information which has been gathered by my counsel in the preparation of the lawsuit. The language

           of the Complaint is that of counsel and not of affiant. I have read the Complaint and to the extent

           that the allegations therein are based upon information I have given counsel, they are true and

           correct to the best of my knowledge, information, and belief. To the extent that the contents of the

           Complaint are that of counsel, I have relied upon counsel in making this Verification. I understand

           that false statements made herein are made subject to the penalties of 18 Pa. C.S.A. § 4904 relating

           to unworn falsifications to authorities.




                 05/04/2023
           DATE                                                         NINA CARSELLO




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                                                      VERIFICATION


                  I, Autumn Dinenna, hereby verify that I am the plaintiff in the foregoing action; that the

           attached Complaint is based upon information which I have furnished to my counsel and

           information which has been gathered by my counsel in the preparation of the lawsuit. The language

           of the Complaint is that of counsel and not of affiant. I have read the Complaint and to the extent

           that the allegations therein are based upon information I have given counsel, they are true and

           correct to the best of my knowledge, information, and belief. To the extent that the contents of the

           Complaint are that of counsel, I have relied upon counsel in making this Verification. I understand

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           to unworn falsifications to authorities.




                05/04/2023
           DATE                                                         AUTUMN DINENNA




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                                                      VERIFICATION


                  I, Dylan Giandonato, hereby verify that I am the plaintiff in the foregoing action; that the

           attached Complaint is based upon information which I have furnished to my counsel and

           information which has been gathered by my counsel in the preparation of the lawsuit. The language

           of the Complaint is that of counsel and not of affiant. I have read the Complaint and to the extent

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           to unworn falsifications to authorities.




                 05/04/2023

           DATE                                                         DYLAN GIANDONATO




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                                                      VERIFICATION


                  I, Kaelin Iwugo, hereby verify that I am the plaintiff in the foregoing action; that the

           attached Complaint is based upon information which I have furnished to my counsel and

           information which has been gathered by my counsel in the preparation of the lawsuit. The language

           of the Complaint is that of counsel and not of affiant. I have read the Complaint and to the extent

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           Complaint are that of counsel, I have relied upon counsel in making this Verification. I understand

           that false statements made herein are made subject to the penalties of 18 Pa. C.S.A. § 4904 relating

           to unworn falsifications to authorities.




                05/04/2023
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           DATE                                                         KAELIN IWUGO




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                                                      VERIFICATION


                  I, Emma Janosczyk, hereby verify that I am the plaintiff in the foregoing action; that the

           attached Complaint is based upon information which I have furnished to my counsel and

           information which has been gathered by my counsel in the preparation of the lawsuit. The language

           of the Complaint is that of counsel and not of affiant. I have read the Complaint and to the extent

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           to unworn falsifications to authorities.




                 05/04/2023
           DATE                                                         EMMA JANOSCZYK




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                                                    VERIFICATION


                  I, Josie Lemon, hereby verify that I am the plaintiff in the foregoing action; that the attached

           Complaint is based upon information which I have furnished to my counsel and information which

           has been gathered by my counsel in the preparation of the lawsuit. The language of the Complaint

           is that of counsel and not of affiant. I have read the Complaint and to the extent that the allegations

           therein are based upon information I have given counsel, they are true and correct to the best of

           my knowledge, information, and belief To the extent that the contents of the Complaint are that

           of counsel, I have relied upon counsel in making this Verification. I understand that false

           statements made herein are made subject to the penalties of 18 Pa. C.S.A. § 4904 relating to

           unworn falsifications to authorities.




                05/04/2023

           DATE                                                           JOSIE LEMON




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                                                    VERIFICATION


                  I, Jake Ridall, hereby verify that I am the plaintiff in the foregoing action; that the attached

           Complaint is based upon information which I have furnished to my counsel and information which

           has been gathered by my counsel in the preparation of the lawsuit. The language of the Complaint

           is that of counsel and not of affiant. I have read the Complaint and to the extent that the allegations

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               05/04/2023
           DATE                                                           JAKE RIDALL




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                                                      VERIFICATION


                  I, Helen Tormollan, hereby verify that I am the plaintiff in the foregoing action; that the

           attached Complaint is based upon information which I have furnished to my counsel and

           information which has been gathered by my counsel in the preparation of the lawsuit. The language

           of the Complaint is that of counsel and not of affiant. I have read the Complaint and to the extent

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                 05/04/2023

           DATE                                                         HELEN TORMOLLAN




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                                                      VERIFICATION


                  I, Myla Vetterlein, hereby verify that I am the plaintiff in the foregoing action; that the

           attached Complaint is based upon information which I have furnished to my counsel and

           information which has been gathered by my counsel in the preparation of the lawsuit. The language

           of the Complaint is that of counsel and not of affiant. I have read the Complaint and to the extent

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           Complaint are that of counsel, I have relied upon counsel in making this Verification. I understand

           that false statements made herein are made subject to the penalties of 18 Pa. C.S.A. § 4904 relating

           to unworn falsifications to authorities.




                 05/05/2023

           DATE                                                         MYLA VETTERLEIN




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